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 1                                                                           The Honorable Ronald B. Leighton
 2
 3
 4
 5
 6
 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT TACOMA
 9
10       MONIQUE CHARLENE TILLMAN and                        )
         ERIC BRANCH,                                        )
11                                                           )
                        Plaintiffs,                          )
12                                                           ) No. 3:16-cv-05794-RBL
         vs.                                                 )
13                                                           ) PRETRIAL ORDER
         JARED WILLIAMS, THE CITY OF                         )
14       TACOMA,                                             )
                                                             )
15                      Defendants.                          )
                                                             )
16                                                           )
                                                             )
17
18                                                   JURISDICTION
19             This Court has jurisdiction over plaintiffs’ federal claims pursuant to 28 U.S.C. § 1983,
20   and supplemental jurisdiction over plaintiffs’ state law claims pursuant to 28 U.S.C. §
21   1367(c)(3). As all claims arose in Pierce County, Washington, venue is proper pursuant to 28
22   U.S.C. § 1391 (b)(2).
23                                            CLAIMS AND DEFENSES
24             A.      Plaintiffs’ Claims1
25             Plaintiff Tillman intends to pursue the following claims at trial:
26
27   1
       Plaintiffs understand that defendants object to presenting some of these claims to the jury, arguing they received
     insufficient notice of these claims in Plaintiffs’ Second Amended Complaint. Plaintiffs position is that defendants
28   received adequate notice of each of these claims. See Updike v. Multnomah Cty., 870 F.3d 939, 952-53 (9th Cir.
     2017) (only requiring fair notice to defendant for plaintiff to pursue claim).

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 1             1.      Violation of 42 U.S.C. § 1983 resulting from Defendant Williams’ excessive use
 2   of force, unreasonable seizure and wrongful arrest.
 3             2.      Violation of state laws resulting from Defendant Williams’ false imprisonment,
 4   false arrest, malicious prosecution, and assault/battery.
 5             3.      42 U.S.C. § 1983 Monell claim against Defendant City of Tacoma based on an
 6   alleged custom, practice and policy of allowing individuals to be tased unconstitutionally, an
 7   alleged failure to train, an alleged failure to investigate and discipline, and alleged ratification of
 8   Defendant Williams’ conduct.
 9             Plaintiff Branch intends to pursue the following claims at trial:
10             4.      Violation of 42 U.S.C. § 1983 resulting from Defendant Williams; unreasonable
11   seizure and false imprisonment.
12             5.      Violation of state laws resulting from Defendant Williams’ assault, and false
13   imprisonment.
14   DEFENDANTS’ OBJECTIONS:
15             The Second Amended Complaint, the operative complaint in this case (Dkt. 1-1), does
16
     not contain all of the causes of actions plaintiffs have indicated an intent to pursue at trial.
17   Specifically, the Second Amended Complaint does not include a §1983 claim for Monique
18   Tillman for an unlawful seizure and does not include any §1983 claims for Eric Branch, on any
19   theory of liability. Plaintiffs’ failure to plead these claims has prejudiced Officer Williams in that
20   it deprived him of the opportunity to assert qualified immunity as a defense to these claims and
21   to seek summary judgment on that basis. Moreover, a denial of summary judgment for qualified
22   immunity is subject to interlocutory appeal and Officer Williams has been deprived of that right
23   as well2. Allowing plaintiffs to pursue these claims at trial, after a full discovery period and
24   dispositive motion practice, deprives Officer Williams of his due process rights. Finally, by
25
26   2
       In its order on summary judgment, the Court noted that there were material questions of fact on all issues that
     precluded summary judgment, including qualified immunity. Officer Williams sought qualified immunity on the
27   excessive force claim only and therefore, that is the claim for which the Court found material questions of fact. The
     facts material to the unreasonable seizure claim, however, were not in dispute and Officer Williams would have
28   been entitled to summary judgment on that basis, or in the alternative, a right to interlocutory review of the district
     court’s order, had plaintiffs pled these claims and given appropriate notice to the defendant.

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 1   adding causes of action under §1983 after the dispositive motions have been filed and resolved,
 2   plaintiff is subjecting Officer Williams to additional grounds for punitive damages, grounds that
 3   Officer Williams was not permitted to challenge by summary judgment.
 4          In addition to the unpled §1983 claims, plaintiff Monique Tillman has identified a
 5   municipal liability claim on an alleged failure to train, investigate and discipline, claims that
 6   plaintiff abandoned on summary judgment. The City of Tacoma moved for summary judgment
 7   on these theories of liability, identifying the necessary evidence to establish plaintiff’s prima
 8   facie case and demonstrating the absence of essential evidence to establish these claims. See
 9   Dkt. 56. In response to the City’s motion, plaintiff did not address the claims of municipal
10   liability based on training, investigation or discipline, and instead, argued municipal liability on
11   the basis of an unconstitutional policy and ratification. See Dkt. 86. As the party bearing the
12   burden of proof on these claims at trial, plaintiff had an obligation, in response to the summary
13   judgment motion, to adduce the competent evidence necessary to establish the essential elements
14   of this claim. Celotex Corp. v. Catrett, 477 U.S. 317, 325, 106 S. Ct. 2548, 2553, 91 L. Ed. 2d
15   265 (1986). Plaintiff’s failure to argue these claims on summary judgment constituted an
16   abandonment of these claims and plaintiff should not be permitted to pursue these claims at trial.
17          B.      Defendants’ Defenses
18          1.      Federal and State qualified immunity for Officer Williams in his individual
19   capacity.
20          2.      Failure to mitigate damages.
21                    PLAINTIFFS’ PROPOSED STATEMENT OF THE CASE
22          This is a civil rights case. The two people bringing this case are Monique Tillman and
23   Eric Branch. They are called the plaintiffs. They are suing the City of Tacoma, and police officer
24   Jared Williams, who are called the defendants.
25          The plaintiffs claim they were subjected to an unconstitutional stop, and seizure. They
26   claim that excessive force was used by Officer Williams while seizing Monique Tillman, and
27   that Monique Tillman was later improperly prosecuted. Monique Tillman claims to have suffered
28

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 1   physical and emotional injuries; Eric Branch is claiming emotional injuries. Plaintiffs are also
 2   seeking punitive damages.
 3          Defendants assert that the stop of both plaintiffs, arrest and subsequent prosecution of
 4   Monique Tillman were all supported by probable cause and therefore lawful.
 5                                       STIPULATED FACTS
 6          1.      On May 24, 2014, plaintiffs Monique Tillman and Eric Branch were minors, and
 7   residents of Pierce County Washington.
 8          2.      The Tacoma Police Department is a department of the City of Tacoma.
 9          3.      The Tacoma Police Department is responsible for law enforcement in the City of
10   Tacoma.
11          4.      On May 24, 2014, defendant Jared Williams was a police officer employed by the
12   City of Tacoma.
13          5.      On May 24, 2014, plaintiff Tillman was fifteen (15) years old.
14          6.      On May 24, 2014, plaintiff Tillman and her brother plaintiff Branch were
15   riding their bicycles through the Tacoma Mall parking lot, on Tacoma Mall property.
16          7.      Defendant Williams stopped plaintiffs by driving his Tacoma Police Department
17   cruiser directly behind them as they biked their way across the Tacoma Mall parking lot
18   deploying the cruiser’s air horn.
19          8.      At the time Plaintiffs were stopped by defendant Williams, defendant Williams
20   was wearing a Tacoma Police Department issued uniform and badge, driving a Tacoma Police
21   Department cruiser, utilizing Tacoma Police Department equipment, including a side arm,
22   handcuffs or hand restraints, and Taser.
23          9.      Defendant Williams exited his police cruiser and approached plaintiffs after they
24   stopped in response to his commands and the activation of the cruiser’s air horn.
25          10.     Plaintiff Tillman asked why defendant Williams had stopped her and her brother
26          11.     Plaintiff Tillman responded that she believed she was being harassed because of
27   the color of her skin.
28          12.     Plaintiff Tillman attempted to ride away from the officer on her bicycle.

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 1           13.     Defendants Williams made physical contact with plaintiff Tillman to keep her
 2   from leaving.
 3           14.     Defendant Williams took Plaintiff Tillman to the ground and at one point
 4   deployed his Taser, which is a pain compliance and muscular control tool.
 5           15.     Defendant Williams was acting under color of state law.
 6           16.     Plaintiff Tillman was arrested, charged with crimes, and booked into Remann
 7   Hall.
 8           17.     At a trial of the criminal charges, the criminal case against Tillman was dismissed
 9   by the Superior Court.
10           18.     Malik Branch, Monique Tillman’s mother, made a complaint to the Tacoma
11   Police Department that the incident constituted excessive force. After an investigation, the
12   Department determined that the conduct in this instance was in accordance with department
13   policy and therefore, the complaint investigation was closed with a finding of “exonerated.”
14
15                                            ISSUES OF LAW
16           There are no issues of law for the Court’s resolution, other than Officer Williams
17   assertion of qualified immunity, which is a question of law for the court to resolve after the jury
18   has resolved any material questions of fact.
19                                              WITNESSES
20           A.      On Behalf of Plaintiff
21                   Expert Witnesses:
22           1.      Randal D. Beaton, Ph.D. (will testify)
23                   Department of Psychosocial and Community Health
                     Box 357263, School of Nursing
24                   University of Washington
25                   Seattle, WA 98195

26           Dr. Beaton is a recognized expert in the area of Clinical Psychology Practice, specializing
27   in evaluation and treatment of Chronic Pain and Stress Disorders and will provide testimony on
     the liability and causation issues in this case.
28

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 1          2.      D.P. Van Blaricom (will testify)
                    835 – 91st Lane N.E.
 2
                    Bellevue, WA 98004-4811
 3
            D.P. Van Blaricom is a nationally recognized expert in the area of police practices and
 4   procedures and will provide testimony on the liability and causation issues in this case.
 5
            3.      Stanley Kephart (may testify)
 6                  2949 N 44th Street
                    Phoenix, AZ 85018
 7
 8           Mr. Kephart is an expert in security and surveillance systems. He will testify regarding
     the surveillance system in place at the Tacoma Mall and the existence and subsequent destruction
 9   of pertinent video surveillance recordings.
10
                    Lay Witnesses:
11
            1.      Eric Branch (may testify)
12
                    c/o Friedman | Rubin PLLP
13                  1126 Highland Avenue
                    Bremerton, WA 98337
14
15          Plaintiff.

16          2.      Malik Branch (may testify)
                    c/o Friedman | Rubin PLLP
17                  1126 Highland Avenue
18                  Bremerton, WA 98337

19         Ms. Branch is the mother of plaintiffs. She has knowledge with respect to plaintiffs’
     damages.
20
            3.      Matthew Graham (may testify)
21
                    c/o Office of the City of Tacoma Attorney
22                  747 Market Street, Room 1120
                    Tacoma, WA 98402-3767
23
             Mr. Graham is employed by defendant the City of Tacoma and has knowledge with
24
     respect to aspects of liability.
25
            4.      Henry Knaack (may testify)
26                  2505 Woods Drive Apt. H
27                  Steilacoom, WA 98388-4228

28         Mr. Knaack witnessed the incident and has knowledge with respect to aspects of liability
     and damages.
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 1          5.      Olivia Pokemire (will testify)
                    10606 Sheridan Ave. S.
 2
                    Tacoma, WA 98444
 3
             Ms. Pokemire is one of plaintiffs’ social friends and has knowledge with respect to
 4   plaintiffs’ damages.
 5
            6.      Donald Ramsdell (will testify)
 6                  c/o Office of the City of Tacoma Attorney
                    747 Market Street, Room 1120
 7
                    Tacoma, WA 98402-3767
 8
            Chief Ramsdell approved the City’s use of force policy and has knowledge with respect
 9   to aspects of liability.
10          7.      Jason Sadler (may testify)
11                  8410 27th Street W Apt. C
                    University Place, WA 98466
12
13          Jason Sadler has knowledge with respect to liability and the video surveillance system at
     the Tacoma Mall.
14
            8.      Stephanie Sawyer (will testify)
15
                    6213 Lakewood Dr., Apt. (B7)
16                  University Place, WA 98467

17           Ms. Sawyer is an aunt and former childhood caregiver to plaintiffs. She has knowledge
18   with respect to plaintiffs’ damages.

19          9.      Michael Smith (may testify)
                    c/o Office of the City of Tacoma Attorney
20
                    747 Market Street, Room 1120
21                  Tacoma, WA 98402-3767
22          Mr. Smith is employed by defendant the City of Tacoma and has knowledge with respect
     to aspects of liability.
23
24          10.     Steven Storwick (may testify)
                    c/o Office of the City of Tacoma Attorney
25                  747 Market Street, Room 1120
26                  Tacoma, WA 98402-3767

27           Mr. Storwick is employed by defendant the City of Tacoma and has knowledge with
     respect to aspects of liability.
28

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 1          11.     Monique Tillman (may testify)
                    c/o Friedman | Rubin PLLP
 2
                    1126 Highland Avenue
 3                  Bremerton, WA 98337
 4          Plaintiff.
 5          12.     Lexine Torres (will testify)
                    Bates Technical College
 6
                    South Campus
 7                  2201 South 78th St.
                    Tacoma, WA 98409
 8
 9          Ms. Torres was plaintiff Tillman’s career counselor at Bates Technical College. Ms.
     Torres has knowledge with respect plaintiff Tillman’s damages.
10
            13.     Edward Wade (may testify)
11
                    c/o Office of the City of Tacoma Attorney
12                  747 Market Street, Room 1120
                    Tacoma, WA 98402-3767
13
            Mr. Wade is employed by defendant the City of Tacoma and has knowledge with respect
14   to aspects of liability.
15
            14.     Amanda Webster-Martin (will testify)
16                  101 E 64th Street
17                  Tacoma, WA 98404

18         Ms. Webster-Martin may testify regarding her knowledge and observation of the incident
     of May 24, 2014 and the cell phone video she filmed and provided to the parties.
19
20          15.     Jared Williams (will testify)
                    c/o Office of the City of Tacoma Attorney
21                  747 Market Street, Room 1120
22                  Tacoma, WA 98402-3767

23          Defendant.

24          B.      On Behalf of Defendants

25                  Expert Witnesses:

26          1.      Dennis Chong, M.D. (will testify)
                    c/o Northwest Medical Experts Inc.
27                  600 University St., Ste. 2325
                    Seattle, WA 98101
28

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 1          Dr. Chong is a board-certified physiatrist who is expected to testify, if necessary,
     regarding Ms. Tillman’s medical health history and diagnoses prior to the incident of May 24,
 2   2014, as well as any treatment received as a result of the May 24, 2014 incident.
 3
            2.      Chris Myers (will testify)
 4                  22727 4th Ave W, #105
                    Bothell, WA 98021
 5
 6           Mr. Myers is expected to testify, if necessary, concerning the police procedures and the
     use of force used by Officer Jared Williams during the May 24, 2014 incident.
 7
            3.      Russell Vandenbelt, M.D. (will testify)
 8
                    11201 SE 8th St, #105
 9                  Bellevue, WA 98004

10          Dr. Vandenbelt is a board-certified psychiatrist who is expected to testify, if necessary,
11   regarding Ms. Tillman’s mental health history and diagnoses, medication history related to her
     her mental health diagnoses, and her history of substance abuse prior to the incident of May 24,
12   2014.
13   Lay Witnesses:
14          1.      Sergeant John Branham (may testify)
15                  c/o Tacoma City Attorney’s Office
                    747 Market Street, Suite 1120
16                  Tacoma, WA 98402
17          Sergeant Branham may testify regarding his contact with plaintiff Tillman on May 24,
18   2014 and the events surrounding that contact.

19          2.      Tifni Buchanan (will testify)
                    South Sound 911
20                  945 Tacoma Avenue South
21                  Tacoma, WA 98402

22          Ms. Buchanan is expected to testify regarding the foundation of CAD communications,
     records and audio.
23
24          3.      Diane Clarkson (may testify)
                    Pierce County Deputy Prosecuting Attorney
25                  930 Tacoma Avenue South, Room 946
                    Tacoma, WA 98402
26
27           Ms. Clarkson may be called to testify regarding the State of Washington’s prosecution
     against Plaintiff Tillman.
28

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 1          4.      Detective Julie Dier (formerly Yulia Popov) (may testify)
                    c/o Tacoma City Attorney’s Office
 2                  747 Market Street, Suite 1120
 3                  Tacoma, WA 98402

 4         Detective Dier may be called to testify regarding her contact with plaintiff Tillman on
     May 24, 2014 and the events surrounding that contact.
 5
 6          5.      Officer Matt Graham (may testify)
                    c/o Tacoma City Attorney’s Office
 7                  747 Market Street, Suite 1120
                    Tacoma, WA 98402
 8
 9           Officer Graham may be called to testify regarding Electronic Control Tools (Taser)
     training provided to Tacoma Police Officers.
10
11          6.      Lieutenant Gordon Stark (may testify)
                    c/o Tacoma City Attorney’s Office
12                  747 Market Street, Suite 1120
                    Tacoma, WA 98402
13
14          Lieutenant Stark will be called to testify regarding Tacoma Police Department training.

15          7.      Assistant Chief Ed Wade (will testify)
                    c/o Tacoma City Attorney’s Office
16                  747 Market Street, Suite 1120
17                  Tacoma, WA 98402

18           Assistant Chief Wade will testify regarding the complaint filed by Maliks Branch and the
     internal investigation into the use of force applied during the incident.
19
20          8.      Henry Knaack, Security Officer (will testify)
                    c/o Mills Meyers Swartling, P.S.
21                  1000 Second Avenue, 30th Floor
                    Seattle, WA 98104
22
23          Officer Knaack is expected to testify regarding his contact with plaintiffs on May 24,
     2014 and the events surrounding that contact.
24
25          9.      Officer Joshua McKenzie (may testify)
                    c/o Tacoma City Attorney’s Office
26                  747 Market Street, Suite 1120
                    Tacoma, WA 98402
27
28          Officer McKenzie may testify regarding his contact with plaintiff Tillman on May 24,
     2014 and the events surrounding that contact.

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 1          10.     Police Chief Donald Ramsdell (may testify)
                    c/o Tacoma City Attorney’s Office
 2                  747 Market Street, Suite 1120
 3                  Tacoma, WA 98402

 4          Chief Ramsdell is a named defendant and may be called to testify about his determination
     following the Use of Force Review Board and the Department’s policies and procedures.
 5
 6          11.     Jason Sadler (will testify)
                    c/o Mills Meyers Swartling, P.S.
 7                  1000 Second Avenue, 30th Floor
                    Seattle, WA 98104
 8
 9           Mr. Sadler is expected to testify regarding Tacoma Mall’s security personnel guidelines
     for interaction with individuals on mall property and video surveillance relating to the May 24,
10   2014 incident.
11
            12.     Officer Steven Storwick (may testify)
12                  c/o Tacoma City Attorney’s Office
                    747 Market Street, Suite 1120
13                  Tacoma, WA 98402
14
            Officer Storwick may be called to testify regarding Defensive Tactics training provided
15   to Tacoma Police Officers.
16          13.     Amanda Webster-Martin (will testify)
17                  101 E 64th Street
                    Tacoma, WA 98404
18
             Ms. Webster-Martin will be called to testify regarding her knowledge and observation of
19
     the incident of May 24, 2014 and the cell phone video she filmed and provided to the Tacoma
20   Police Department.

21          14.     Officer Jared Williams (will testify)
                    c/o Tacoma City Attorney’s Office
22
                    747 Market Street, Suite 1120
23                  Tacoma, WA 98402

24           Officer Williams is a named defendant and will testify regarding his contact with the
25   plaintiffs on May 24, 2014, and the events surrounding that contact.

26
27
28

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 1   EXHIBITS
 2           A.     Plaintiffs’ Proposed Exhibits
 3
     Ex. No.      Description                           Admissibility   Authenticity    Authenticity
 4                                                       Stipulated      Stipulated,        &
 5                                                                      Admissibility   Admissibility
                                                                          Disputed       Disputed
 6      1         Family Photographs (10                     X
                  photographs)
 7
        2         Surveillance Video of Incident             X
 8      3         Eye Witness Cell Phone Video of            X
 9                Incident
        4         Tacoma Police Department Arrest                            X
10                Report Incident No. 141441088.1
        5         Knaack Supplemental Report                                 X
11
                  (TILLMAN 118)
12      6         Branch Complaint (TILLMAN                                  X
                  119-122)
13      7         Use of Force Investigation 14-             X
14                1441088 (TILLMAN 123-125)
        8         Simon Property-Tacoma Mall                 X
15                Incident Report (TILLMAN 126-
                  128)
16      9         INTENTIONALLY LEFT
17                BLANK
        10        INTENTIONALLY LEFT
18                BLANK
        11        INTENTIONALLY LEFT
19
                  BLANK
20      12        Verbatim Transcript of                                     X
                  Proceedings dated January 27,
21                2015 (TILLMAN 000136 – 250)
22      13        LESA CAD Messaging Query                                   X
                  (TILLMAN 408-410)
23      14        INTENTIONALLY LEFT
                  BLANK
24      15        05/2012 Tacoma Police                                      X
25                Department Use of Force Policy
                  (TILLMAN 656-665)
26      16        02/2014 Tacoma Police                      X
                  Department Use of Force Policy
27
        17        Tacoma Police Department                   X
28                Procedures Manual, Arrest –
                  General Arrest (TILLMAN 2049)
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 1   Ex. No.    Description                         Admissibility   Authenticity    Authenticity
                                                     Stipulated      Stipulated,        &
 2                                                                  Admissibility   Admissibility
 3                                                                    Disputed       Disputed
        18      Tacoma Police Department                                 X
 4              Procedures Manual, Field
                Contacts (TILLMAN 2050-2055)
 5
        19      Tacoma Police Department                                 X
 6              Procedures Manual, Juvenile –
                Investigation and Arrest
 7              (TILLMAN 2056-2059)
 8      20      02/2015 Tacoma Police                                    X
                Department Use of Force Policy
 9              (TILLMAN 2077-2087)
        21      Redlined Version of 05/2012 Use                          X
10              of Force Policy
11      22      Tacoma Police Department                 X
                Professional Standards Sub-
12              Section 1.1 (TILLMAN 2688-
                2695)
13
        23      Tacoma Police Department                 X
14              Professional Standards Sub-
                Section 1.2 (TILLMAN 2696-
15              2700)
        24      Electronic Control Tool (ECT)            X
16
                2010 Training and Recertification
17              Taser X26 Units
        25      Electronic Control Tool (ECT)            X
18              2011 Training and Recertification
19              Taser X26 Units
        26      Electronic Control Tool (ECT)            X
20              2012 Training and Recertification
                Taser X26 Units
21      27      Electronic Control Tool (ECT)            X
22              2013 Training and Recertification
                Taser X26 Units
23      28      Electronic Control Tool (ECT)            X
                2014 Training and Recertification
24
                Taser X26 Units
25      29      Tacoma Police Department Off-                            X
                Duty Employment Permits (2757-
26              2760)
27      30      Tacoma Police Department Legal           X
                Directive 10-001 (TILLMAN
28              2841-2842)

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 1   Ex. No.    Description                          Admissibility   Authenticity    Authenticity
                                                      Stipulated      Stipulated,        &
 2                                                                   Admissibility   Admissibility
 3                                                                     Disputed       Disputed
        31      Tacoma Police Department Intra-                           X
 4              Department Memorandum 2009
                Use of Force Analysis Report
 5
                (TILLMAN 2865-2868)
 6      32      Tacoma Police Department Intra-                           X
                Department Memorandum 2010
 7              Use of Force Analysis Report
                (TILLMAN 2869-2872)
 8
        33      Tacoma Police Department Intra-                           X
 9              Department Memorandum 2011
                Use of Force Analysis Report
10              (TILLMAN 2873-2877)
11      34      Tacoma Police Department Intra-                           X
                Department Memorandum 2012
12              Use of Force Analysis Report
                (TILLMAN 2878-2884)
13      35      Tacoma Police Department Intra-                           X
14              Department Memorandum 2013
                Use of Force Analysis Report
15              (TILLMAN 2885-2891)
        36      Tacoma Police Department Intra-                           X
16
                Department Memorandum 2014
17              Use of Force Analysis Report
                (TILLMAN 2892-2898)
18      37      Exterior CCTV PTZ vs. Still               X
19              Camera Map (UPS 100401)
        38      Jared Williams Pat Slips (Simon                           X
20              225-242)
        39      Simon Security and Crime                                  X
21              Prevention S0800 (TILLMAN
22              202-214)
        40      Taser Handheld CEW Warnings,                              X
23              Instructions, and Information:
                Law Enforcement (PLA 1578 –
24
                1585)
25      41      Declaration for Detention of              X
                Probable Cause (PLA 1343-1344)
26      42      Information (PLA 1345-1346)               X
27      43      Order of Dismissal (PLA 1339)             X
28      44      15COM-0003 IAPro Summary                                  X

     PRETRIAL ORDER                                                         FRIEDMAN | RUBIN
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 1   Ex. No.        Description                             Admissibility   Authenticity    Authenticity
                                                             Stipulated      Stipulated,        &
 2                                                                          Admissibility   Admissibility
 3                                                                            Disputed       Disputed
           45       PPO Williams Administrative                                  X
 4                  Report
           46       Ariel Photos of the Mall and the             X
 5
                    Surrounding Areas
 6
 7   B.         Defendants’ Exhibits

 8   Ex.          Description                               Admissibility   Authenticity    Authenticity
     No.                                                     Stipulated      Stipulated,        &
 9                                                                          Admissibility   Admissibility
10                                                                            Disputed       Disputed
     A1           CAD XX-XXXXXXX, Bates Nos.                                     X
11                TILLMAN 000086-000087
     A2           CAD XX-XXXXXXX, Bates Nos.                                     X
12                TILLMAN 000088-000089
13   A3           South Sound 911 Audio, Bates                   X
                  Nos. TILLMAN 000064 –
14                000065
     A4           Tacoma Police Internal Affairs                                 X
15
                  Complaint Investigation No.
16                14COM-0071, Bates Nos.
                  TILLMAN 000101-000135
17   A5           Officer Jared Williams’s training                              X
18                file, P-TRNG JW 000001-000029
     A6           Tacoma Mall aerial photo indication            X
19                locations for Pier 1, Sears and
                  Krispy Kreme
20   A7           Tacoma Mall aerial photo indicating            X
21                location of Tacoma Mall and
                  plaintiffs’ residence (Tillman
22                Deposition Exhibit 12)
     A8           Tacoma Mall aerial photo indicating            X
23
                  plaintiffs’ route to mall (Tillman
24                Deposition Exhibit 13)
     A9           Tacoma Mall aerial photo indicating            X
25                location of where plaintiffs were
26                stopped on their bicycles by Officer
                  Williams (Tillman Deposition
27                Exhibit 14)
     A10          Tacoma Mall aerial photo indicating            X
28                plaintiffs’ route to the mall (Branch
                  Deposition Exhibit 1)
     PRETRIAL ORDER                                                                FRIEDMAN | RUBIN
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 1   Ex.     Description                            Admissibility   Authenticity    Authenticity
     No.                                             Stipulated      Stipulated,        &
 2                                                                  Admissibility   Admissibility
 3                                                                    Disputed       Disputed
     A11     Tacoma Mall aerial photo indicating         X
 4           where plaintiffs’ first saw Security
             Officer Knaack and Officer
 5
             Williams and where plaintiffs
 6           stopped (Branch Deposition Exhibit
             2)
 7   A12     Tacoma Mall aerial photo indicating         X
             where contact with Officer Williams
 8
             occurred (Branch Deposition
 9           Exhibit 3)
     A13     Series of frames side by side from                                          X
10           video clips captured from Tacoma
11           Mall security video and citizen
             Amanda Webster-Martin’s cell
12           phone
     A14     Series of side by side video clips                                          X
13           captured from Tacoma Mall security
14           video and citizen Amanda Webster-
             Martin’s cell phone
15   A15     Excerpts of Commencement Bay                                X
             Pediatrics Record on Monique
16
             Tillman
17   A16     Excerpts of Comprehensive Life                              X
             Resources Records on Monique
18           Tillman
19   A17     Excerpts of Greater Lakes Mental                            X
             Health Records on Monique Tillman
20   A18     Excerpts of Multicare Health                                X
             System Records on Monique
21           Tillman
22   A19     Excerpts of Tacoma Fire                                     X
             Department Records on Monique
23           Tillman
     A20     Excerpts of DSHS records for                                X
24
             Monique Tillman
25   A21     Excerpts of Social Security Records                         X
             for Monique Tillman
26   A22     Tacoma Public School Transcripts                            X
27           for Monique Tillman
     A23     Tacoma Public School Disciplinary                           X
28           Records for Monique Tillman

     PRETRIAL ORDER                                                        FRIEDMAN | RUBIN
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 1    Ex.      Description                              Admissibility   Authenticity      Authenticity
      No.                                                Stipulated      Stipulated,          &
 2                                                                      Admissibility     Admissibility
 3                                                                        Disputed         Disputed
      A24      Clover Park School District                                   X
 4             Disciplinary Records for Monique
               Tillman
 5
      A25      Bates Technical School Transcript                              X
 6             for Monique Tillman
      A26      Excerpts of Comprehensive Life                                 X
 7             Resources Records on Eric Branch
 8    A27      Excerpts of Greater Lakes Mental                               X
               Health Records on Eric Branch
 9    A28      Excerpts of Multicare Healthcare                               X
               System Records on Eric Branch
10    A29      Excerpts of Woodcreek Healthcare                               X
11             Records on Eric Branch
      A30      Excerpts of Social Security Records                            X
12             on Eric Branch
      A31      Tacoma Public School Transcripts                               X
13
               for Eric Branch
14    A32      Tacoma Public School Disciplinary                              X
               Records for Eric Branch
15    A33      Clover Park School District                                    X
16             Disciplinary Records for Eric
               Branch
17    A34      Clover Park Technical College                                  X
               Transcript for Eric Branch
18
      A35      Excerpts from KOMO News video                                  X
19             “Tasered Teen”
      A36      Use of Force Continuum diagram                X
20
21
     ACTION BY THE COURT
22
        a) This case is scheduled for trial to the Court sitting with a jury on March 12, 2018, at 9:00
23
     a.m.
24
        b) Trial briefs shall be submitted to the court on or before February 26, 2018.
25
            This order has been approved by the parties as evidenced by the signatures of their
26
     counsel. This order shall control the subsequent course of the action unless modified by a
27
28   subsequent order. This order shall not be amended except by order of the court pursuant to

     agreement of the parties or to prevent manifest injustice.
      PRETRIAL ORDER                                                            FRIEDMAN | RUBIN
      Case No. 3:16-cv-05794-RBL                   17                           1126 H IGHLAND A VE .
                                                                               B REMERTON , WA 98337
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 1          DATED this ____ day of _________________, 2018.
 2
 3
                                            Ronald B. Leighton
 4                                          United States District Judge

 5
 6   FORM APPROVED:

 7   FRIEDMAN | RUBIN
 8
 9   By: /s/ Alexander A. Ackel
       Alexander E. Ackel, WSBA #
10     Richard H. Friedman, WSBA #
       Attorneys for Plaintiffs
11
12   TAMAKI LAW

13
     By: /s/ Vito De La Cruz
14     Vito De La Cruz, WSBA #
15     Attorneys for Plaintiffs

16
     William C. Fosbre, City Attorney
17
18
     By: /s/ Jean P. Homan
19     Jean P. Homan, WSBA #27084
       Deputy City Attorney
20
       Attorney for Defendants
21
22
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28

      PRETRIAL ORDER                                                        FRIEDMAN | RUBIN
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           Case 3:16-cv-05794-RBL Document 133 Filed 02/26/18 Page 19 of 19



 1
                                    CERTIFICATE OF SERVICE
 2
 3
            I hereby certify that on February 26, 2018, I electronically filed the foregoing document
 4   with the Clerk of the Court using the CM/ECF system, which will send notification of such
     filing to the following in the manner indicated:
 5
 6
 7     Jean P. Homan                                   ()        Legal Messenger Service
       OFFICE OF THE CITY ATTORNEY                     ()        Facsimile
 8     747 Market Street, Room 1120                    ()        U.S. Mail
 9     Tacoma, WA 98402-3767                           (X)       Email

10     Attorneys for Defendants JARED
       WILLIAMS and THE CITY OF
11     TACOMA
12
                                                         /s/ Dana C. Watkins
13                                                       Dana C. Watkins, Paralegal
14
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     PRETRIAL ORDER                                                             FRIEDMAN | RUBIN
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                                                                               B REMERTON , WA 98337
                                                                                   (360) 782-4300
